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UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF FLORIDA
Miami Division

Case Number: 16-21008-CIV-MORENO

JEFFREY MELTON, EZEKIEL MORRIS,
TOMMY JOHNSON, JUAN VALDES, and
MANVILLE SMITH,

Plaintiffs,

VS.

CENTURY ARMS, INC.; CENTURY
INTERNATIONAL ARMS CORP.;
CENTURY ARMS OF VERMONT, INC.; and
CENTURY INTERNATIONAL ARMS OF
VERMONT, INC.,

Defendants.
/

 

FINAL ORDER OF DISMISSAL AND ORDER
DENYING ALL PENDING MOTIONS AS MOOT

THIS CAUSE came before the Court upon the Parties’ Stipulated Dismissal Pursuant to
Fed. R. Civ. P. 41 (D.E. 202), filed on December 11, 2018.

THE COURT has considered the stipulation and the pertinent portions of the record, and
is otherwise fully advised in the premises. It is

ADJUDGED that this Cause is DISMISSED WITH PREJUDICE, with each party
bearing its own fees and costs. Fed. R. Civ. P. 41(a)(1)(A)(ii). Further, all pending motions are
DENIED as MOOT with leave to renew if appropriate.

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Copies furnished to:

Counsel of Record
